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                                                                              CLERKS OFFICE U.S. DIST. COURT
                                                                                 AT CHARLOTTESVILLE, VA
                                                                                        FILED
                               UNITED STATES DISTRICT COURT                        01/07/2020
                                                                                 JULIA C. DUDLEY, CLERK
                               WESTERN DISTRICT OF VIRGINIA                      BY: /s/ J. JONES
                                     CHARLOTTESVILLE DIVISION                        DEPUTY CLERK

    ELIZABETH SINES, et al.,
                                                       CASE NO. 3:17-cv-00072
                                      Plaintiffs,

                          v.                            ORDER

    JASON KESSLER, et al.,
                                                        JUDGE NORMAN K. MOON
                                      Defendants.



         After this Court’s rulings that Defendant Elliott Kline is and remains in civil contempt for

  failure to comply with numerous discovery orders, and after less stringent sanctions failed to secure

  his compliance, this Court ordered Kline to surrender himself to the United States Marshals Service

  to be incarcerated until he purges himself of civil contempt. Dkt. 613, 610, 599. On January 6,

  2020, Kline did so and surrendered himself into the custody of the United States Marshals Service.

  Dkt. 616. This Court promptly held a hearing in the afternoon of January 6, in which the Court

  heard testimony from Kline, and considered argument on recent filings by Kline and Plaintiffs

  relating to the issue whether Kline remains in contempt. Dkt. 618. This Court has further received

  and considered post-hearing e-mails from Kline and the Third Party Discovery vendor, which state

  that yesterday Kline provided the vendor access to his “eli.r.kline” e-mail account.

         As this Court clearly explained in paragraph 41 of its Civil Contempt Order and reiterated

  regularly since that Order, Kline is required to take certain “steps to purge himself of contempt.”

  Dkt. 610 at 4 (¶ 6) (citing Civil Contempt Order ¶ 41). These include:

         a. Kline must respond in writing fully and completely to Plaintiffs’ First Set of
            Interrogatories and Plaintiffs’ Requests for Production of Documents. When
            those are complete, Kline must send them to Plaintiffs and email them to this
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             Court’s Chambers account (moon.ecf@vawd.uscourts.gov) as well as that of
             Judge Hoppe (hoppe.ecf@vawd.uscourts.gov).

         b. Kline must provide the Third Party Discovery Vendor his email and social
            media credentials, including his passwords, for every account he verified on his
            Certification Form, or that should have been included on such Form originally.

                    i.        Kline must further conduct a diligent search of his electronic and
                              other records to confirm that the list of credentials he included
                              on his Certification Form is complete, and to uncover his
                              credentials (including passwords), to any of these accounts.

                    ii.       For any and all accounts to which Kline confirms he does not
                              have the credentials, he will submit a declaration under oath and
                              under penalty of perjury, to that effect, and which states with
                              specificity the reasons why such credentials are unavailable to
                              Kline.

  Dkt. 610 at 4 (¶ 6) (citing Dkt. 599 at 14–15 (¶ 41). Kline previously satisfied the Court he had

  substantially complied with certain other steps required to purge himself of contempt. See Dkt.

  610 at 12–13 (¶¶ 36, 37).

         The question before this Court is whether Kline has demonstrated that he is presently

  unable to comply with the order or has substantially complied with the provisions in paragraph

  41(a) and (b) of this Court’s Civil Contempt Order. To demonstrate substantial compliance, Kline

  must show he has taken “all reasonable steps to ensure compliance.” See Dkt. 610 at 7–8 (¶ 17);

  United States v. Darwin Constr. Co., Inc., 873 F.2d 750, 755 (4th Cir. 1989).

         This Court finds that yesterday, Plaintiffs raised an as-yet-unanswered, substantial question

  whether Kline has “fully and completely” responded to Plaintiffs’ discovery requests or otherwise

  provided the Third Party Discovery vendor account credentials for “every” social media or email

  account which may contain discoverable information, as required in by paragraph 41 of this

  Court’s Civil Contempt Order. Specifically, Plaintiffs identified a social media communication

  that appears to have been sent from Kline soliciting relevant photographic or other evidence about
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  the Unite the Right rally to be sent to a “CvilleReports” email address. See Dkt. 615-1 at 2–3. This

  Court finds that email address falls within the scope of the Court’s Civil Contempt Order, and

  Kline must follow the steps set forth in paragraph 41 of that Order with respect to this account,

  and to demonstrate there are no other remaining accounts omitted by Kline. To be abundantly

  clear, the Court expects the following of Kline:

         1. Kline must conduct a diligent search of any and all accounts to which he has access to

             uncover credentials for that “CvilleReports” email account. See Civil Contempt Order

             ¶ 41(b)(i).

         2. If Kline is unable to locate such credentials for that “CvilleReports” account following

             a diligent search, Kline must submit “a declaration under oath and under penalty of

             perjury, to that effect, and which states with specificity the reasons why such

             credentials are unavailable to Kline.” Civil Contempt Order ¶ 41(b)(ii). Kline should

             include in the declaration all pertinent information about the accounts he searched and

             the scope and manner of his search. The declaration can be handwritten.

         3. The declaration should also document the steps that Kline has taken and his search for

             all available accounts for any other, as-yet undisclosed social media or email accounts.

         This Court FINDS that, while in the U.S. Marshals’ custody, Kline has the present ability

  to comply with such steps in order to purge himself of contempt.

         This Court will review and promptly consider any submission from Kline. This Court will

  afford Plaintiffs’ counsel the opportunity to respond to any submission by Kline.
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         It is so ORDERED.

         The Clerk of the Court is directed to send a certified copy of this Order to the parties, and

  to the United States Marshals Service.

         Entered this   7th    day of January, 2020.
